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  6

  7                               UNITED STATES DISTRICT COURT
  8                              CENTRAL DISTRICT OF CALIFORNIA

  9    CHARLYNN H. PRUNER,                             Case No. 8:21-cv-00300-DOC-KES
 10                       Plaintiff,                   STIPULATION OF DISMISSAL WITH
 11                                                    PREJUDICE
               v.
 12
       USCB, INC. d/b/a/ USCB AMERICA,
 13
                          Defendant.
 14

 15          IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff, Charlynn H.
 16   Pruner, and Defendant, USCB, Inc. d/b/a USCB America, through their respective counsel and
 17
      pursuant to Federal Rule of Civil Procedure 41, that the above-captioned case be dismissed with
 18
      prejudice. Each party shall bear its own costs and attorneys’ fees.
 19
       DATED: June 11, 2021                                      Respectfully submitted,
 20
       /s/ Alexander J. Taylor                                   /s/ Patricio Esquivel (with consent)
 21    Alexander J. Taylor, Esq.                                 Patricio Esquivel, Esq.
       Sulaiman Law Group, Ltd.                                  SBN: 163775
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       Counsel for Plaintiff                                     Counsel for Defendant
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                                                         1
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  1                                   CERTIFICATE OF SERVICE
  2          I, the undersigned, hereby certify that on June 11, 2021, a true and correct copy of the above
  3   and foregoing document was filed with the Court via CM/ECF and served on all parties requesting

  4   electronic notification.

  5                                                                        s/ Alexander J. Taylor
                                                                           Alexander J. Taylor, Esq.
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